UNITED STATES DISTRICT COURT oo SOE Bs,
EASTERN DISTRICT OF NEW YORK EIS yp

 

SAFWAN AZIZ

v. CV 4 ie x No. 1 C “F 4.

CITY OF NEW YORK and NEW YORK CITY POLICE COMPLAINT
OFFICER MICHAEL CARROLL

 

Plaintiff, SAFWAN AZIZ, by his attorney, JAMES K. O’HALLORANORENSTEN M.S
complaining of the Defendants, respectfully shows and alleges as follows:

FIRST: This action is brought pursuant to 42 U.S.C. 1983 and 1988.
Jurisdiction is founded upon 28 U.S.C. 1331 and 1334. Plaintiff further invokes the
pendent jurisdiction of this Court to hear and decide claims arising under state law.

SECOND: That at all times hereinafter mentioned, the Plaintiff,
SAFWAN AZIZ, was and still is a citizen and resident of the City and State of New York.

THIRD: That at all times hereinafter mentioned, the Defendant, CITY
OF NEW YORK, was and still is a municipal corporation duly organized and existing
under the laws of the State of New York.

FOURTH: That at al! times hereinafter mentioned, the Defendant, CITY
OF NEW YORK, was and still is a municipal corporation doing business in the State of
New York.

FIFTH: Upon information and belief, at all times relevant to this

complaint, the individual Defendant, NEW YORK CITY POLICE OFFICER MICHAEL
CARROLL, (hereinafter P.O. MICHAEL CARROLL) shield #1776, was and still is a
police officer employed by the Defendant, CITY OF NEW YORK.

SIXTH: That upon information and belief and at all times hereinafter
mentioned, the individual Defendant, P.O. MICHAEL CARROLL, was acting within the
course of his employment and/or official policy, practice, custom or usage of the
Defendant, CITY OF NEW YORK, and under color of state law, that is, under color of the
Constitution, statutes, laws, ordinances, rules, regulations customs and usages of the
United States, City and State of New York.

SEVENTH: That the Plaintiff sues the individual Defendant(s) each in
their individual and official capacities.

EIGHTH: That Notice of Intention to Sue, as required by Section 50 (e)}
of the General Municipal Law of the State of New York, was served by the Plaintiff upon
the Defendant, CITY OF NEW YORK, on or about December 12, 2012, within 90 days
after the cause of action arose; that on or about February 7, 2013, Plaintiff appeared for the
50-H hearing and same was conducted; that at least thirty (30) days have elapsed since the
demand or claim upon which this action is predicated was presented to the CITY OF NEW
YORK for adjustment and that it has neglected and/or refused to make adjustment or
payment thereof; and that this action is commenced within one year and ninety (90) days
after the cause of action accrued.

NINTH: That 42 U.S.C. 1983 provides that every person who under
color of any statues, ordinance, regulation, custom, or usage, of any State of Territory or
the District of Columbia, subjects or causes to be subjected any citizen of the United States

or other person within the jurisdiction thereof the deprivation of any rights, privileges, or
immunities secured by the Constitution and laws, shall be liable to the party injured in an
action at law suit in equity, or other proper proceeding for redress.

TENTH: That on or about October 17, 2012, the Plaintiff was lawfully
present at the corner of Port Richmond Avenue and Castleton Avenue, Staten Island, New
York.

ELEVENTH: That on or about October 17, 2012, while the Plaintiff was
lawfully at the aforementioned place, the individual Defendant, P.O. MICHAEL
CARROLL, without probable cause, unlawfully detained, arrested, imprisoned,
handcuffed, frisked and physically searched the Plaintiff's body/person, all without
consent, permission, authority nor probable cause and in violation of Plaintiff's civil rights.

TWELFTH: That no illegal item(s) or contraband were found on the
Plaintiff's body or person.

THIRTEENTH: That on or about October 17, 2012, the individual Defendant,
P.O. MICHAEL CARROLL, caused the Plaintiff to be arrested, under the laws of the City
and State of New York.

FOURTEENTH: That after being unlawfully detained and imprisoned, the
plaintiff was charged under Penal Law § 195.05 Obstructing Governmental Administration
2"! Degree, P.L. § 205,30 Resisting Arrest, Penal Law §260.10(1) Endangering the
Welfare of a Child, Penal Law §240.20(1) Disorderly Conduct, and Penal Law §

240.26(1) Harassment 2" Degree.
AS AND FOR A FIRST CAUSE OF ACTION
AGAINST THE INDIVIDUAL DEFENDANT(S)

FIFTEENTH: That the Plaintiff repeats and realleges the allegations
contained in paragraphs “FIRST” through “FOURTEENTH” of the complaint with the
same force and effect as if fully set forth herein.

SIXTEENTH: That upon information and belief, the Defendants’ illegal and
unlawful search of his person and property, his unlawful arrest, detainment, and
imprisonment of the Plaintiff's body/person, was illegal, unreasonable, reckless, without a
warrant nor probable cause, and was a violation and deprivation of the Constitutional
rights of the Plaintiff as secured by the Fourth and Fourteenth Amendments of the
Constitution of the United States, 42 U.S.C. 1983 AND 42 U.S.C. 1988.

SEVENTEENTH: That as a proximate result of the aforesaid acts and
omissions by the Defendants, the Plaintiff has suffered general and pecuniary damages.

EIGHTEENTH: That the acts of the individual defendants as described herein
were intentional, wanton, malicious, oppressive, negligent, grossly negligent and/or
reckless, thus entitling Plaintiff to an additional award of punitive damages against the said
Individual Defendants in their individual capacities.

NINETEENTH: That the Defendants are liable to the Plaintiff pursuant to 42
U.S.C. 1983 and 1988.

AS AND FOR A SECOND CAUSE OF ACTION
AGAINST THE INDIVIDUAL DEFENDANTS

TWENTIETH: That the Plaintiff repeats and realleges the allegations
contained in paragraphs “FIRST” through “NINETEENTH” of the complaint with the

same force and effect as if fully set forth herein.
TWENTY-FIRST: That the individual Defendants, acting in their individual
capacities and under color of law, having conspired with others, reached a mutual
understanding and intentionally acted to undertake a course of conduct that violated
Plaintiff's civil rights, in violation and deprivation of the Constitutional rights of the
Plaintiff as secured by the Fourth and Fourteenth Amendments of the Constitution of the
United States, 42 U.S.C, 1983 and 42U.S.C. 1988.

TWENTY-SECOND: That as a proximate result of the aforesaid acts and
omissions by the Defendants, the Plaintiff has suffered general and pecuniary damages.

TWENTY-THIRD: That the acts of the Individual Defendants as described
herein were intentional, wanton, malicious, oppressive, negligent, grossly negligent and/or
reckless, thus entitling Plaintiff to an additional award of punitive damages against the said
Individual Defendants in their individual capacities.

TWENTY-FOURTH: That the Defendants are liable to the Plaintiff
pursuant to 42 U.S.C. 1983 and 1988.

AS AND FOR A THIRD CAUSE OF ACTION
AGAINST THE INDIVIDUAL DEFENDANTS

TWENTY-FIFTH: That the Plaintiff repeats and realleges the allegations
contained in paragraphs “FIRST” through “TWENTY-FOURTH)” of the complaint with
the same force and effect as if fully set forth herein.

TWENTY-SIXTH: That the aforesaid actions of the individual Defendants
constitute intentional infliction of emotional distress on the Plaintiff under the laws of the

City, State of New York.
TWENTY-SEVENTH: That as a proximate result of the aforesaid acts and
omissions by the Defendants, the Plaintiff has suffered both general and pecuniary
damages and severe emotional distress.

AS AND FOR A FOURTH CAUSE OF ACTION
AGAINST THE INDIVIDUAL DEFENDANTS

TWENTY-EIGHTH: That the Plaintiff repeats and realleges the allegations
contained in paragraphs “FIRST” through “TWENTY-SEVENTH” of the complaint
with the same force and effect as if fully set forth herein.

TWENTY-NINTH: That the individual Defendants were negligent, careless,
reckless, and/or grossly negligent in the performance of their police duties in, searching,
arresting, and imprisoning the Plaintiff.

THIRTIETH: That as a proximate result of the aforesaid acts and
omissions by the Defendants, the Plaintiff has suffered both general and pecuniary
damages.

THIRTY-FIRST: That the Defendant is liable to the Plaintiff under the laws of
the City and State of New York.

AS AND FOR A FIRST CAUSE OF ACTION
AGAINST THE CITY OF NEW YORK

THIRTY-SECOND: That the Plaintiff repeats and realleges the allegations
contained in paragraphs “FIRST” through “THIRTY-FIRST” of the complaint with the
same force and effect as if fully set forth herein.

THIRTY-THIRD: That as the employer of the individual Defendants at the
times of their negligent conduct as set forth herein, the Defendant, CITY OF NEW YORK,

is liable to the Plaintiff under the laws of the State of New York.
THIRTY-FOURTH: That as a proximate result of the aforesaid acts and
omissions by the Defendants, the Plaintiff has suffered general and pecuniary damages.

AS AND FOR A SECONDCAUSE OF ACTION
AGAINST THE CITYOF NEW YORK

THIRTY-FIFTH: That the Plaintiff repeats and realleges the allegations
contained in paragraphs “FIRST” through “THIRTY-FOURTH?” of the complaint with
the same force and effect as if fully set forth herein.

THIRTY-SIXTH: That the Defendant, CITY OF NEW YORK, was negligent
in the hiring, supervision, training, and instruction of the individual Defendants.

THIRTY-SEVENTH: That as a direct and proximate result of the deliberate
indifference, carelessness, and or recklessness of the Defendant, CITY OF NEW YORK,
toward the proper training and supervision of its police officers/employees, the Plaintiff
has been deprived of his rights under the Fourth and Fourteenth Amendments of the United
States Constitution, Sections 1983 and 1988 of Title 42 of the United States Code, and
under the laws of the City, and State of New York.

THIRTY-EIGHTH: That as a proximate result of the aforesaid acts and
omissions by the Defendants, the Plaintiff has suffered both general and pecuniary
damages.

THIRTY-NINTH: A jury trial of all issues is demanded.

WHEREFORE, Plaintiff requests judgment against Defendants, CITY OF NEW

YORK and P.O. MICHAEL CARROLL, as follows:
1. As against the individual Defendant, General and Compensatory damages in the
sum of ONE MILLION DOLLARS ($1,000,000.00) on the First, Second, Third, and
Fourth causes of action,

2. As against the individual Defendants, punitive damages in the sum of ONE
MILLION DOLLARS (1,000,000.00) on the First and Second causes of action, and

3. As against Defendant, CITY OF NEW YORK, General and
Compensatory damages in the sum of ONE MILLION DOLLARS ($1,000,000.00) on
the First and Second Causes of Action asserted against it, and

4. Reasonable attorney’s fees, pursuant to 42 U.S.C. 1988,

§. The costs of this action,

6. And such other and further relief as may be just and proper.

Dated: March 12, 2013 4;
Staten Island, NY
AMES K. O’HALLORAN
Attorney for Plaintiff

17 Seneca Avenue
Staten Island, NY 10301
(718) 727-9303
Case 1:13-cv-01934-SLT-JO Document 1 Filed 04/05/13 Page 9 of 9 PagelD #: 9

VERIFICATION
STATE OF NEW YORK )
> SS.
COUNTY OF RICHMOND )

SAFWAN AZIZ, above named being duly sworn, deposes and says: I am the
Plaintiff in the within action; that I have read and know the contents of the foregoing
Complaint; that the same is true to my own knowledge, except as to matters therein stated
to be alleged on information and belief, and that as to those matters, I believe it to be true.

SAFWAN AZIZ

Sworn to before me on
March (fF , 2013

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